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                                                      U.S. Department of Justice

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                                          February 26, 2025

    Via ECF

    The Honorable Matthew W. Brann
    Chief United States District Judge
    Middle District of Pennsylvania
    240 West Third Street
    Williamsport, PA 17701

            Re:     United States v. Max Vance, a/k/a, Andre J. Burk
                    (4:24-CR-00015)

    Dear Chief Judge Brann:

          Defendant Max Vance is scheduled to appear before Your Honor
    for a detention hearing on February 28, 2025. The Government opposes
    Vance’s release and respectfully submits this letter in support of its
    position.

          The relevant procedural history is as follows. The Honorable
    Karoline Mehalchick, United States District Judge, signed a criminal
    complaint against and issued an arrest warrant for Vance on January
    19, 2024. Case No. 3:24-MJ-00005. The FBI arrested Vance in the
    Southern District of California on January 20, 2024. The Government
    moved for a detention hearing pursuant to 18 U.S.C. § 3142(f)(2)(A),
    which was held before the Honorable Barbara L. Major, United States
    Magistrate Judge, Southern District of California, on January 30, 2024.
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      Judge Major ordered Vance detained, finding by a preponderance
of the evidence that no condition or combination of conditions will
reasonably assure the appearance of the defendant as required. (Doc.
12, at 4–8).

      The Government again moved for detention pursuant to
section 3142(f)(2)(A) at Vance’s initial appearance in this District before
the Honorable Joseph F. Saporito, Jr., on March 7, 2024. Judge Saporito
scheduled a detention hearing. (Doc. 21). On March 12, 2024, Vance
filed a motion to cancel the detention hearing, reserving the right
address the issue of detention at a later time, (Doc. 22), which Judge
Saporito granted, (Doc. 23).

      On August 19, 2024, Vance filed a motion for bail, asserting he
“located a stable and safe residence at which he can stay pending
disposition of his case.” (Doc. 29, at 2). This Court scheduled a bail
hearing, (Doc. 30), which Vance subsequently moved to cancel, asserting
his “circumstances have recently changed” such that it was “in his best
interest to cancel the hearing,” (Doc. 31, at 2). Vance filed the instant
motion for bail in December, asserting he “located a stable and safe
residence at which he can stay pending disposition of the case,” and his
expert’s “preliminary analysis of the ‘loss’ in this case” suggests Vance
“may be getting close to a time-served sentence.” (Doc. 35, at 2–3).

      Despite his locating a “stable and safe” residence and his expert’s
“preliminary analysis,” Vance remains a serious risk of flight, and the
Court should order him detained pending trial.

      Section 3142(f)(2)(A) of the Bail Reform Act permits an attorney
for the Government to move for pretrial detention in any case that
involves “a serious risk that the person will flee.” While the
Government must prove a defendant’s danger to the community by
clear and convincing evidence, flight risk need only be established by a
preponderance of the evidence. United States v. Himler, 797 F.2d 156,
161 (3d Cir. 1986).

      Here, a preponderance of the evidence establishes Vance is a flight
risk, considering each of the factors enumerated in Section 3142(g).



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      The Nature and Circumstances of the Offense Charged. This is a
computer hacking case in which a sophisticated software engineer,
Vance, accessed Geisinger Health System’s servers without
authorization and executed SQL1 queries to exfiltrate more than 1.2
million patient records. Vance worked as a Principal Healthcare
Interface Engineer within the healthcare division of Nuance
Communications, Inc., a software company headquartered in
Massachusetts, which provides software solutions to healthcare
providers. Microsoft owns Nuance. Geisinger contracted Nuance to
develop and upgrade its healthcare software within the Geisinger
computer network. Nuance employees working on the contract had
access to certain Geisinger computer systems to perform their duties.
Vance was one of those employees.

       Microsoft fired Vance via a Microsoft Teams video conference for
unrelated misconduct on November 27, 2023. On November 29, 2023,
Vance logged into his Microsoft laptop using his Nuance credentials.
From there, Vance logged into Geisinger’s computer system and ran
several SQL queries of Geisinger’s servers for numerous categories of
private patient information. Vance downloaded the patient information
into two computer files named “pt.dat” and “2pt.dat.” The files
contained personally identifiable and protected health information of
more than 1.2 million patients, including patients’: name, date of birth,
address, admit and discharge code, medical record number, race,
gender, phone number, and care location.

      With both data files in hand, Vance logged into his Microsoft
Azure cloud storage account and uploaded the files to the cloud. From
there, Vance downloaded the patient files from Azure to the local drive
on his laptop. Then he removed his Azure account and cleared all its
history and metadata. Then he cleared his internet browsing history.

    The FBI executed a search warrant at Vance’s apartment on
January 19, 2024. A review of numerous digital devices seized revealed


1 SQL stands for Structured Query Language. SQL is a computer programming

language used to communicate with databases, in this case, the database stored on
Geisinger’s private servers in Pennsylvania.

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Vance transferred the patient data from his Microsoft laptop to a
personal Samsung hard drive. The FBI’s review of Vance’s devices did
not reveal evidence that Vance transferred the data to other devices or
elsewhere.

     The Weight of the Evidence. As currently charged, the
Government must prove Vance (1) intentionally accessed a protected
computer, (2) without authorization, and (3) obtained information
valued at more than $5,000. The weight of the evidence going to each of
these elements is substantial.

     First, Geisinger’s servers are “protected computers”—that is,
computers used in or affecting interstate commerce or communication,
18 U.S.C. § 1030(e)(2)(B)—as evidenced by the fact that Vance was in
Southern California digitally communicating interstate with Geisinger’s
servers located in Pennsylvania.

     Second, Vance’s breach of Geisinger’s servers was without
authorization, since he did so after Microsoft fired him. Once fired,
Vance was not authorized to access Geisinger’s private servers.
Microsoft fired Vance over Microsoft Teams and sent a follow-up email
with his termination paperwork. In an interview with the FBI, Vance
admitted he received the termination email.

      Third, Vance’s breach of Geisinger’s servers was recorded on
video. Geisinger helpfully employs a digital security software called
SecureLink, which provides Geisinger vendors, such as Nuance, with
secure remote access to Geisinger computer systems. A feature of
SecureLink is the ability to record a user’s computer screen upon access
to the company’s servers. So each movement of Vance’s mouse and
stroke of a key described above was recorded on video.

       Fourth, the FBI’s forensic review of Vance’s devices seized during
the search warrant executed as his apartment revealed the patient data
files in the recycle bin of his Microsoft laptop and personal Samsung
external hard drive. Vance was the only occupant of his apartment.




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     Fifth, the Government’s valuation expert, after an extensive
review of the market for large datasets of PII, found the data exfiltrated
by Vance to be worth $77,000 to $120,000—more than fifteen times the
statutory threshold.2

      In sum, the weight of the evidence is substantial.

      The History and Characteristics of the Defendant. Vance has an
egregious history of fleeing prosecution, disobeying court orders, and
altering his identity.

      A.     Vance has a history of fleeing prosecution.

      Vance has two outstanding warrants—one in Montgomery
County, PA, and the other in Gloucester County, NJ. Both appear to
stem from Vance’s harassment, stalking, and extortion of a victim in
New Jersey. The warrants are extraditable, which renders detention
moot.

      As described in the New Jersey police reports (Exhibits 1 through
5), Vance met the victim on a dating website in 2021.3 They met up and
had a discussion of a sexual nature in Vance’s car, which Vance
surreptitiously recorded. Vance subsequently told the victim about the
recording, threatening to post it on YouTube if the victim didn’t have
sex with him and send him $5,000 in Bitcoin. Then Vance posted the
video on YouTube and sent it to the victim’s spouse. The victim got a
temporary restraining order, which was served on Vance on August 9,
2021. Then New Jersey charged Vance criminally for criminal coercion,
stalking, and cyber harassment.



2 This number is not to be conflated with “loss” under U.S.S.G. § 2B1.1, which

means “reasonably foreseeable pecuniary harm that resulted from the offense.” In
this case, that would include costs associated with Geisinger’s dutiful identification
of and response to the data breach, which the Government believes to be well over
$1 million. In other words, Vance is not, as he claims, “getting close to a time-served
sentence.” Rather, the Government anticipates a significant offense level increase
under the section 2B1.1 loss table.
3 Exhibits 1 through 18 have been provided to the defense and will be filed with the

Court under seal.

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      On or around September 8, 2021, Vance continued to harass the
victim, implying he had a video he secretly took of them having sex that
he would disclose and generating numerous Instagram accounts and
phone numbers to contact the victim and avoid being blocked.
Reviewing this evidence, New Jersey charged Vance with witness
tampering and stalking. A warrant issued on September 20, 2021,
which remains outstanding.

     Vance, originally named Andre Burk, petitioned to change his
name in Montgomery County, PA, on September 13, 2021. Exhibit 6.
The FBI found the Decree for Change of Name in his apartment, dated
November 24, 2021. Exhibit 7.

      Vance moved to Southern California in or around March 2022. On
March 10, 2022, the victim’s restraining order became final. On March
18, 2022, Vance sent a video containing sensitive details of their initial
encounter to multiple of the victim’s family members. New Jersey
charged Vance with contempt of court for violating the restraining
order. In or around April 2022, Vance continued to contact the victim,
urging the victim to drop the final restraining order.

      The state court in Gloucester County, New Jersey, scheduled an
initial appearance for Vance on his stalking, cyber harassment, and
contempt of court charges for June 9, 2022. Notices of the hearing were
sent to Vance in May 2022. Vance failed to appear. The FBI found the
notices of hearing at Vance’s apartment. Exhibit 8.

      In sum, Vance was served with a restraining order and charged
criminally, then he changed his name and moved to California. The FBI
interviewed Vance following execution of the federal search warrant in
January 2024. Vance said he always wanted to change his name, but
admitted his legal troubles in New Jersey did push him to submit his
name change paperwork. He said he moved to California for the warm
weather.




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     B.    Vance has a history of disobeying court orders.

      The civil restraining order from New Jersey and Vance’s failure to
appear in his criminal case aren’t the only court orders Vance has failed
to obey.

      As described in the police report, filed herewith (Exhibit 9), Vance
allegedly sexually harassed another victim in Southern California in
September 2023. The victim, who knew Vance only as “Marcus,” applied
for and received a temporary restraining order on December 8, 2023,
which, among other things, prohibited Vance from possessing firearms
or ammunition. Exhibit 10.

      The FBI found the TRO paperwork on Vance’s desk during the
search of his apartment. The FBI asked Vance, for officer safety
purposes, whether he had any firearms in the residence. Vance said,
“No.” The search revealed a serialized handgun on a seat next to the
kitchen table and a non-serialized handgun, also known as a “ghost
gun,” inside the kitchen trash can. Exhibit 11. A firearms check
revealed Vance does not have any firearms registered to him in
California.

     The San Diego County Sheriff’s arrested Vance for possessing an
undetectable firearm and violating the domestic violence restraining
order by possessing the firearms.

     C.    Vance has a history of altering his identity.

      Vance legally changed his name from Andre Burk to Max Vance
following his legal troubles in New Jersey, as explained above.
However, a search of his apartment and vehicle revealed he has also
altered his identity illegally.

      The FBI found approximately 17 false identification documents
during execution of the search warrant. Exhibits 12, 13. The documents
consisted of mostly driver’s licenses from various states (including
Florida, Pennsylvania, and Delaware), bearing various names
(including Mark Davis, Andre Burk, and Richard Lambert), and all
bearing Vance’s headshot. There was also an employee identification


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document bearing the name “Mark Davis” and Vance’s headshot above
the title “Janitorial services.”

      In addition, the FBI found the equipment necessary to make these
fake IDs in Vance’s apartment. Vance had a printer, ink, numerous
blank plastic ID cards (some with the backside of the driver’s license
already printed), and a magnetic card swipe reader. Exhibits 14, 15.
The card reader is used to encode the black stripe on the back of many
identification documents and credit cards.

      The evidence demonstrates Vance uses these false identities. For
example, as noted above, the victim in Southern California only knew
Vance by “Marcus,” which correlates to the numerous identification
documents at Vance’s apartment bearing the name Mark Davis. In
addition, the FBI located a notarized Postal Service Form 1583,
Application for Delivery of Mail Through Agent, in Vance’s apartment.
Exhibit 16. Vance put his name as Mark Davis, with a Newark,
Delaware address matching that of the fake Delaware ID found with
Vance’s headshot.

      Accordingly, Vance is not only a sophisticated software engineer,
but he has also demonstrated facility with altering his identity legally
and illegally—identities he can use to flee and avoid prosecution again.4

      In addition, Vance is from the Philadelphia area. To the
Government’s knowledge, Vance has no family or community ties to this
District. The last time he was in or around Philadelphia, he changed his
name and moved to California to avoid his legal troubles in New Jersey.

      Danger to Any Person and the Community. Vance is obviously a
danger to the two domestic violence victims noted above. His gun
possession, computer breaching, and identity obscuring also betray a
danger to the community. However, the Third Circuit Court of Appeals
has made clear that where, as here, the Bail Reform Act permits a




4 The FBI also found puzzling but concerning items in Vance’s apartment, such as a

GPS tracker, exhibit 17, and a realistic identity changing mask, exhibit 18.

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detention hearing only on the basis of a serious risk of flight, the Court
may not detain the defendant on the basis of danger to the community.
Himler, 797 F.2d at 162. Accordingly, the information regarding Vance’s
criminal past noted above is provided to the Court only for the purpose
of demonstrating Vance’s risk of flight.

      In conclusion, when the defendant appears before this Court on
February 28, 2025, Your Honor will see a man who is a sophisticated
software engineer and identity fraudster with a history of fleeing
prosecution and disobeying court orders. In other words, a
preponderance of the evidence demonstrates Vance is a serious risk of
flight. And the Government respectfully requests the Court deny his
release.

                                        Sincerely,

                                        JOHN C. GURGANUS
                                        Acting United States Attorney


                                   By: /s/ Kyle A. Moreno
                                       KYLE A. MORENO
                                       Assistant United States Attorney

Cc: Gerald A. Lord, Esq.




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